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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
LISA ALVAREZ,
Plaintiff, CASE NO.: 8:14-CV-1366-T-17MAF
_vS_
JPMORGAN CHASE BANK, N.A.
Defendant. j

 

NOTICE OF PENDING SETTLEMENT
Plaintiff, Lisa Alvarez, by and through her undersigned counsel, hereby submits this
Notice of Pending Settlement and states that Plaintiff and Defendant, JPMorgan Chase Bank,
N.A., have reached a settlement with regard to this case and are presently drafting, finalizing,
and executing the Settlement and dismissal documents Upon execution of the same, the parties
will file the appropriate dismissal documents With the Court.
Dated this Sth day of January 2015 .

/S/ William Peerce Howard
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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that the foregoing was filed electronically on the 5th day of
January, 2015, in accordance With the Court’s Electronic Filing Guidelines. Notice of this filing
will be sent to all parties by operation of the Court’s Electronic Filing System. Parties may
access this filing through the Court’s Filing System.

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/s/ William Peerce Howara’
Attorney for Plaintiff

